   Case 1:07-cr-00199-KD-M Document 100 Filed 01/04/13 Page 1 of 4                              PageID #: 287
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                       #9194


                UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                         V.                               (For Revocation of Probation or Supervised Release)
         ANDRE CLARENCE MCQUAY

                                                          CASE NUMBER: 1:07-00199-001
                                                            USM NUMBER: 09929-003

THE DEFENDANT:                                                     Arthur Madden
                                                          Defendant's Attorney


(x)     admitted guilt to violation of supervision condition(s):        Condition #7 and Special Condition
()      was found in violation of supervision condition(s):
                                                                                            Date violation
Violation Number                                  Nature of Violation                       Occurred

Condition #7                                      Technical
Special Condition                                 Technical

      The defendant is sentenced as provided in pages 2 through 4             of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


()     The defendant has not violated condition(s)                    and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

Defendant's Mailing Address:                                    December 19, 2012
 1471 Plaza Drive, #C                                         Date of Imposition of Judgment
 Mobile, AL 36605


                                                                s/Kristi K. DuBose
                                                              UNITED STATES DISTRICT JUDGE


                                                                January 4, 2013
                                                              Date
   Case 1:07-cr-00199-KD-M Document 100 Filed 01/04/13 Page 2 of 4                         PageID #: 288
                                                                                               Judgment 2

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment
Defendant: ANDRE CLARENCE MCQUAY
Case Number: 1:07-00199-001
                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of THREE (3) MONTHS .




()      The court makes the following recommendations to the Bureau of Prisons:




(x)     The defendant is remanded to the custody of the United States Marshal.

( ) The defendant shall surrender to the United States Marshal for this district:
  ( ) at       .m. on     .
  ( ) as notified by the United States Marshal.
()      The defendant shall surrender for service of sentence at the institution designated by the Bureau
        of Prisons:
  ( ) before 2 p.m. on         .
  ( ) as notified by the United States Marshal.
  ( ) as notified by the Probation or Pretrial Services Office.
                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on                                                                                      to
   at

with a certified copy of this judgment.
                                                                     UNITED STATES MARSHAL


                                                               By:
                                                                         Deputy U.S. Marshal
     Case 1:07-cr-00199-KD-M Document 100 Filed 01/04/13 Page 3 of 4                             PageID #: 289
                                                                                                    Judgment 3
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: ANDRE CLARENCE MCQUAY
Case Number: 1:07-00199-001
                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of
TWENTY-SEVEN (27) MONTHS

Special Conditions: The Court re-imposes all of the original and special conditions that were initially
imposed on January 25, 2008: the offender shall participate in a program of testing and treatment for
drug and/or alcohol abuse, as directed by the Probation Office; and, the offender shall participate in a
program of mental health treatment and/or counseling, as directed by the Probation Office.

        For offenses committed on or after September 13, 1994:        The defendant shall refrain
        from any unlawful use of a controlled substance. The defendant shall submit to one drug
        test within 15 days of release from imprisonment and at least two periodic drug tests
        thereafter, as directed by the probation officer.
        ()      The above drug testing condition is suspended based on the court=s determination that the
                defendant poses a low risk of future substance abuse. (Check, if applicable)

()      The defendant shall register with the state sex offender registration agency in the state where the
        defendant resides, works, or is a student, as directed by the probation officer. (Check, if
        applicable)

()      The defendant shall participate in an approved program for domestic violence. (Check, if
        applicable)

(X)     The defendant shall not possess a firearm, destructive device, or any other dangerous
        weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution that remains unpaid at the commencement of the term
of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment. The defendant shall report to the probation office in the district to
which the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by
this court (Probation Form 7A).
The defendant shall also comply with the additional conditions on the attached page (if
applicable).


                                  See Page 4 for the
                       "STANDARD CONDITIONS OF SUPERVISION"
   Case 1:07-cr-00199-KD-M Document 100 Filed 01/04/13 Page 4 of 4                               PageID #: 290
                                                                                                    Judgment 4

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: ANDRE CLARENCE MCQUAY
Case Number: 1:07-00199-001
                                      SUPERVISED RELEASE
                        STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation
officer;
2) the defendant shall report to the probation officer in a manner and frequency directed by the court
or probation officer;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the
instructions of          the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
         schooling, training, or other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
         employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not
associate        with any person convicted of a felony unless granted permission to do so by the
probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere
and      shall permit confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or
questioned
         by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law
                                               enforcement agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant's criminal record or personal history or characteristics, and shall
permit
         the probation officer to make such notifications and to confirm the defendant's compliance with
such notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if
         applicable, under the provisions of 18 U.S.C. '' 3563(a)(9) and 3583(d) for those defendants
         convicted of qualifying offenses.
